Case 25-11938-amc                   Doc 3       Filed 05/15/25 Entered 05/15/25 16:29:18                        Desc Main
                                                Document Page 1 of 7


                                                          L.B.F. 3015.1

                                      UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF PENNSYLVANIA

In re:         Knight, Beverly                                   Chapter        13

                                                                 Case No.

                    Debtor(s)

                                                    Chapter 13 Plan

            ✔ Original
            ❑
            ❑                Amended

Date:               05/15/2025

                                    THE DEBTOR HAS FILED FOR RELIEF UNDER
                                     CHAPTER 13 OF THE BANKRUPTCY CODE

                                           YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of
the confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to
adjust debts. You should read these papers carefully and discuss them with your attorney. ANYONE WHO WISHES TO
OPPOSE ANY PROVISION OF THIS PLAN MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015
and Local Rule 3015-4. This Plan may be confirmed and become binding, unless a written objection is filed.

                    IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                    MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                 NOTICE OF MEETING OF CREDITORS.

   Part 1:       Bankruptcy Rule 3015.1(c) Disclosures

         ❑ Plan contains non-standard or additional provisions – see Part 9
         ❑ Plan limits the amount of secured claim(s) based on value of collateral and/or changed interest rate – see Part 4
         ❑ Plan avoids a security interest or lien – see Part 4 and/or Part 9

   Part 2:       Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY CASE

         § 2(a) Plan payments (For Initial and Amended Plans):

            Total Length of Plan:          36     months.

            Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”)       $21,816.00



            Debtor shall pay the Trustee        $606.00      per month for 36 months and then
            Debtor shall pay the Trustee                     per month for the remaining   months;
                                                                or
            Debtor shall have already paid the Trustee                      through month number         and


(12/2024)                                                       1
Case 25-11938-amc                    Doc 3          Filed 05/15/25 Entered 05/15/25 16:29:18               Desc Main
                                                    Document Page 2 of 7


            then shall pay the Trustee                        per month for the remaining     months.

                  Other changes in the scheduled plan payment are set forth in § 2(d)

       § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to future wages
(Describe source, amount and date when funds are available, if known):




       § 2(c) Alternative treatment of secured claims:

            ✔ None. If “None” is checked, the rest of § 2(c) need not be completed.
            ❑
       § 2(d) Other information that may be important relating to the payment and length of Plan:




       § 2(e) Estimated Distribution:

             A.    Total Administrative Fees (Part 3)

                   1.    Postpetition attorney’s fees and costs                $             4,335.00

                         Postconfirmation Supplemental attorney’s fees
                   2.                                                          $                 0.00
                         and costs

                                                                       Subtotal $            4,335.00


             B.    Other Priority Claims (Part 3)                              $             1,900.00

             C.    Total distribution to cure defaults (§ 4(b))                $            13,124.00

             D.    Total distribution on secured claims (§§ 4(c) &(d))         $              254.75

             E.    Total distribution on general unsecured claims(Part 5)      $               20.65

                                                                       Subtotal $           19,634.40

             F.    Estimated Trustee’s Commission                              $             2,181.60

             G.    Base Amount                                                 $            21,816.00

       §2 (f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)

        ✔ By checking this box, Debtor’s counsel certifies that the information contained in Counsel’s Disclosure of
Compensation [Form B2030] is accurate, qualifies counsel to receive compensation pursuant to L.B.R. 2016-3(a)(2),
and requests this Court approve counsel’s compensation in the total amount of $          5,335.00     , with the Trustee
distributing to counsel the amount stated in §2(e)A.1. of the Plan. Confirmation of the plan shall constitute allowance
of the requested compensation.

   Part 3:         Priority Claims

      § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the creditor
agrees otherwise.



(12/2024)                                                          2
Case 25-11938-amc                 Doc 3        Filed 05/15/25 Entered 05/15/25 16:29:18                           Desc Main
                                               Document Page 3 of 7


 Creditor                     Proof of Claim               Type of Priority                 Amount to be Paid by
                              Number                                                        Trustee

 Cibik Law, P.C.                                           Attorney Fees                                              $4,335.00

                                                           Taxes or Penalties Owed to
 Internal Revenue Service                                                                                             $1,900.00
                                                           Governmental Units

       § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full amount.

            ✔ None. If “None” is checked, the rest of § 3(b) need not be completed.
            ❑
   Part 4:       Secured Claims

       § 4(a) Secured Claims Receiving No Distribution from the Trustee:

            ❑ None. If “None” is checked, the rest of § 4(a) need not be completed.
 Creditor                                              Proof of                   Secured Property
                                                       Claim
                                                       Number

 ✔ If checked, the creditor(s) listed below will
 ❑
 receive no distribution from the trustee and the
 parties’ rights will be governed by agreement of                                 4729 Bleigh Avenue Philadelphia, PA 19136
 the parties and applicable nonbankruptcy law.

 Midland Mortgage

       § 4(b) Curing default and maintaining payments

            ❑ None. If “None” is checked, the rest of § 4(b) need not be completed.
         The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor shall pay
directly to creditor monthly obligations falling due after the bankruptcy filing in accordance with the parties’ contract.

 Creditor                Proof of Claim            Description of Secured                   Amount to be Paid by
                         Number                    Property and Address, if                 Trustee
                                                   real property

 Midland Mortgage                                  4729 Bleigh Avenue Philadelphia, PA
                                                                                                                     $13,124.00
 (Arrearage)                                       19136

      § 4(c) Allowed secured claims to be paid in full: based on proof of claim or preconfirmation determination of
the amount, extent or validity of the claim

            ❑ None. If “None” is checked, the rest of § 4(c) need not be completed.
              (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion of payments
under the plan.

             (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to determine the
amount, extent or validity of the allowed secured claim and the court will make its determination prior to the confirmation
hearing.

             (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general unsecured
claim under Part 5 of the Plan or (B) as a priority claim under Part 3, as determined by the court.




(12/2024)                                                         3
 Case 25-11938-amc                 Doc 3        Filed 05/15/25 Entered 05/15/25 16:29:18                             Desc Main
                                                Document Page 4 of 7


                 (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C. § 1325(a)
(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different interest rate or amount for
“present value” interest in its proof of claim or otherwise disputes the amount provided for “present value” interest, the claimant
must file an objection to confirmation.

              (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and
release the corresponding lien.

 Name of          Claim           Description of                Allowed           Present          Dollar            Amount to
 Creditor         Number          Secured                       Secured           Value            Amount of         be Paid by
                                  Property                      Claim             Interest         Present           Trustee
                                                                                  Rate             Value
                                                                                                   Interest

 City of                          4729 Bleigh Avenue
                                                                       $254.75            0.00%             $0.00           $254.75
 Philadelphia                     Philadelphia, PA 19136

        § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506

            ✔ None. If “None” is checked, the rest of § 4(d) need not be completed.
            ❑
        § 4(e) Surrender

            ✔ None. If “None” is checked, the rest of § 4(e) need not be completed.
            ❑
        § 4(f) Loan Modification

            ✔ None. If “None” is checked, the rest of § 4(f) need not be completed.
            ❑
           (1) Debtor shall pursue a loan modification directly with                     or its successor in interest or its current
servicer (“Mortgage Lender”), in an effort to bring the loan current and resolve the secured arrearage claim.

         (2) During the modification application process, Debtor shall make adequate protection payments directly to
Mortgage Lender in the amount of                      per month, which represents                   (describe basis of
adequate protection payment). Debtor shall remit the adequate protection payments directly to the Mortgage Lender.

           (3) If the modification is not approved by                  (date), Debtor shall either (A) file an amended Plan to
otherwise provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek relief from the automatic
stay with regard to the collateral and Debtor will not oppose it.


   Part 5:        General Unsecured Claims

        § 5(a) Separately classified allowed unsecured non-priority claims

            ✔ None. If “None” is checked, the rest of § 5(a) need not be completed.
            ❑
        § 5(b) Timely filed unsecured non-priority claims

             (1) Liquidation Test (check one box)

                ✔ All Debtor(s) property is claimed as exempt.
                    Debtor(s) has non-exempt property valued at $                      for purposes of § 1325(a)(4) and plan
                    provides for distribution of $                to allowed priority and unsecured general creditors.

             (2) Funding: § 5(b) claims to be paid as follows (check one box):

                ✔ Pro rata
                    100%
                    Other (Describe)




(12/2024)                                                        4
Case 25-11938-amc                   Doc 3       Filed 05/15/25 Entered 05/15/25 16:29:18                            Desc Main
                                                Document Page 5 of 7



   Part 6:        Executory Contracts & Unexpired Leases


            ✔ None. If “None” is checked, the rest of § 6 need not be completed.
            ❑
   Part 7:        Other Provisions

         § 7(a) General principles applicable to the Plan

             (1) Vesting of Property of the Estate (check one box)

                       ✔ Upon confirmation
                           Upon discharge

           (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. §1322(a)(4), the amount of a creditor’s claim listed in its proof of
claim controls over any contrary amounts listed in Parts 3, 4 or 5 of the Plan. Debtor shall amend the plan or file an objection
should a filed unsecured claim render the Plan unfeasible.

           (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under § 1326(a)
(1)(B),(C) shall be disbursed to the creditors by the debtor directly. All other disbursements to creditors shall be made by the
Trustee.

             (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is the
plaintiff, before the completion of plan payments, any such recovery in excess of any applicable exemption will be paid to the
Trustee as a special Plan payment to the extent necessary to pay priority and general unsecured creditors, or as agreed by the
Debtor and the Trustee and approved by the court.

         § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s principal residence

             (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such arrearage.

          (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage obligations
as provided for by the terms of the underlying mortgage note.

           (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole purpose of
precluding the imposition of late payment charges or other default-related fees and services based on the pre-petition default
or default(s). Late charges may be assessed on post-petition payments as provided by the terms of the mortgage and note.

           (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the Debtor
pre-petition, and the Debtor provides for payments of that claim directly to the creditor in the Plan, the holder of the claims shall
resume sending customary monthly statements.

            (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon books for
payments prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon book(s) to the Debtor
after this case has been filed.

             (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth
above.

         § 7(c) Sale of Real Property

            ✔ None. If “None” is checked, the rest of § 7(c) need not be completed.
            ❑




(12/2024)                                                        5
Case 25-11938-amc                  Doc 3       Filed 05/15/25 Entered 05/15/25 16:29:18                          Desc Main
                                               Document Page 6 of 7



   Part 8:       Order of Distribution

The order of distribution of Plan payments will be as follows:

            Level 1: Trustee Commissions*
            Level 2: Domestic Support Obligations
            Level 3: Adequate Protection Payments
            Level 4: Debtor’s attorney’s fees
            Level 5: Priority claims, pro rata
            Level 6: Secured claims, pro rata
            Level 7: Specially classified unsecured claims
            Level 8: General unsecured claims
            Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to
exceed ten (10) percent. If the Trustee’s compensation rate increases resulting in the Plan becoming underfunded,
the debtor shall move to modify the Plan to pay the difference.

   Part 9:       Non Standard or Additional Plan Provisions

     Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable box in Part
     1 of this Plan is checked. Nonstandard or additional plan provisions placed elsewhere in the Plan are void.

     ✔ None. If “None” is checked, the rest of Part 9 need not be completed.
     ❑
  Part 10:       Signatures

     By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or
additional provisions other than those in Part 9 of the Plan, and that the Debtor(s) are aware of, and consent to the terms of
this Plan.


Date:          05/15/2025                                                   /s/ Michael A. Cibik
                                                             Michael A. Cibik
                                                             Attorney for Debtor(s)


            If Debtor(s) are unrepresented, they must sign below.



Date:          05/15/2025                                                 /s/ Beverly Knight
                                                             Beverly Knight
                                                             Debtor

Date:
                                                             Joint Debtor




(12/2024)                                                      6
Case 25-11938-amc   Doc 3   Filed 05/15/25 Entered 05/15/25 16:29:18   Desc Main
                            Document Page 7 of 7
